AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Middle District
                                                 __________  District of
                                                                      ofTennessee
                                                                         __________

                  United States of America
                             v.                                     )
                                                                    )        Case No.    24-mj-4430
                         Marquez Davis                              )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Marquez Davis                                                                                       ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Possession of a Fiream by a Previously Convicted Felon, in violation of Title 18, United States Code, Sections 922(g)(1)
  and 924




Date:         10/17/2024
                                                                                           Issuing officer’s signature

City and state:       Nashville, Tennessee                                      Alistair E. Newbern, U.S. Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title


                  Case 3:24-mj-04430             Document 2        Filed 10/17/24         Page 1 of 1 PageID #: 9
